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5
                          IN THE UNITED STATES DISTRICT COURT
6
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8                                                ) Case No.: CR.S. 13-160 MCE
     United States of America,                   )
9                                                ) STIPULATION REGARDING EXCLUDABLE TIME
                  Plaintiff,                     ) PERIODS UNDER SPEEDY TRIAL ACT; FINDINGS
10                                               ) AND ORDER
           vs.                                   )
11                                               ) Court: Hon. Morrison C. England
                                                 ) Time:     9:00 a.m.
12   Sakhanskiy, et. al.,                        ) Date:     January 30, 2014
                                                 )
13                Defendants.

14

15                                           STIPULATION

16
           Plaintiff United States of America, by and through its counsel of record, and
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     defendant, by and through their counsel of record, hereby stipulate as follows:
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           1.     By previous order, this matter was set for status on October 24, 2013.
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           2.     By this stipulation, defendants now moves to continue the status
20   conference until January 30, 2014 and to exclude time between October 24, 2013 and

21   January 30, 2014 under Local Code T4.    Plaintiff does not oppose this request.

22         3.     The parties agree and stipulate, and request that the Court find the

23   following:

           a.     The government has represented that the discovery associated with this
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     case includes over 6,000 pages including investigative reports and related documents
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     in electronic form, over 3 hours of audiotaped interviews with Sac Metro fire
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     investigators and local law enforcement and other witnesses and photographs. All of
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     this discovery has been either produced directly to counsel and/or made available for
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     inspection and copying.




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           b.     Counsel for defendants desires additional time to consult with their
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     clients, to review the current charges, to conduct investigation and research related
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     to the charges, to review and copy discovery for this matter, to discuss potential
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     resolutions with their clients, to prepare pretrial motions, and to otherwise prepare
4    for trial.

5          c.     Counsel for defendants believes that failure to grant the above-requested

6    continuance would deny them the reasonable time necessary for effective preparation,

7    taking into account the exercise of due diligence.

           d.     The government does not object to the continuance.
8
           e.     Based on the above-stated findings, the ends of justice served by
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     continuing the case as requested outweigh the interest of the public and the
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     defendants in a trial within the original date prescribed by the Speedy Trial Act.
11
           f.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
12   3161, et seq., within which trial must commence, the time period of October 24, 2013

13   to January 30, 2013 inclusive, is deemed excludable pursuant to 18 U.S.C.§

14   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by

15   the Court at defendant’s request on the basis of the Court's finding that the ends of

     justice served by taking such action outweigh the best interest of the public and the
16
     defendants in a speedy trial.
17
           4.     Nothing in this stipulation and order shall preclude a finding that other
18
     provisions of the Speedy Trial Act dictate that additional time periods are excludable
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     from the period within which a trial must commence.
20
     IT IS SO STIPULATED.
21   Dated: October 8, 2013                  Respectfully submitted,
22

23                                          __/s/ Shari Rusk___
                                           Shari Rusk
24                                          Attorney for Defendant
                                            Larisa Sakhanskiy
25
                                             /s/ Clifford Scherer
26                                           Clifford Scherer
                                             Attorney for Defendant
27                                           Alexander Sakhanskiy
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                                              /s/ Michael Anderson
1                                             Michael Anderson
                                              Assistant United States Attorney
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3
                                      ORDER
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              The Court finds excludable time through January 30, 2014, based on
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     Local Code T4, giving counsel reasonable time to prepare.
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              IT IS SO ORDERED.
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     Dated:     October 9, 2013
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